    Case 21-03007-sgj Doc 64 Filed 09/01/21                Entered 09/01/21 20:30:46              Page 1 of 10




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                        )
In re:                                  )
                                        )                                  Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,      )
                                        )                                  Case No. 19-34054 (SGJ)
            Reorganized Debtor.         )
                                        )
                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.       )
                                        )
                  Plaintiff,            )
vs.                                     )                                  Adv. Pro. No. 21-03007 (SGJ)
                                        )
HCRE PARTNERS, LLC (n/k/a NEXPOINT REAL )
ESTATE PARTNERS, LLC,)                  )
                                        )
                  Defendant.            )
                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On August 27, 2021, at my direction and under my supervision, employees of KCC
caused the following documents to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached
hereto as Exhibit C and Exhibit D:

      •   Stipulation and Agreed Order Governing Discovery and Other Pre-Trial Issues
          [Docket No. 62]



                                          (Continued on Next Page)




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03007-sgj Doc 64 Filed 09/01/21         Entered 09/01/21 20:30:46   Page 2 of 10




   •   Amended Complaint for (I) Breach of Contract, (II) Turnover of Property, (III)
       Fraudulent Transfer, and (IV) Breach of Fiduciary Duty [Docket No. 63]


Dated: September 1, 2021
                                            /s/ Hannah Bussey
                                            Hannah Bussey
                                            KCC
                                            Meidinger Tower
                                            462 South 4th Street
                                            Louisville, KY 40202




                                            2
Case 21-03007-sgj Doc 64 Filed 09/01/21   Entered 09/01/21 20:30:46   Page 3 of 10



                              EXHIBIT A
          Case 21-03007-sgj Doc 64 Filed 09/01/21                         Entered 09/01/21 20:30:46               Page 4 of 10
                                                                   Exhibit A
                                                             Adversary Service List
                                                            Served via Electronic Mail


             Description                       CreditorName                  CreditorNoticeName                       Email
Financial Advisor to Official Committee                                Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting                 O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                       Melissa S. Hayward, Zachery Z.MHayward@HaywardFirm.com;
Counsel for the Debtor                  Hayward & Associates PLLC      Annable                       ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC and                                     Andrew Clubok, Sarah          andrew.clubok@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           Tomkowiak                     sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                                     Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           George                        Kathryn.George@lw.com
Counsel for UBS Securities LLC and                                     Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           Posin                         kim.posin@lw.com
Counsel for UBS Securities LLC and                                                                   Zachary.Proulx@lw.com;
UBS AG London Branch                    Latham & Watkins LLP           Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                     mclemente@sidley.com;
                                                                       Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
Counsel for Official Committee of                                      Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
Unsecured Creditors                     Sidley Austin LLP              Dennis M. Twomey              dtwomey@sidley.com
                                                                                                     preid@sidley.com;
                                                                       Penny P. Reid, Paige Holden   pmontgomery@sidley.com;
Counsel for Official Committee of                                      Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                     Sidley Austin LLP              Chandler M. Rognes            crognes@sidley.com
Counsel for HCRE Partners, LLC
(n/k/a NexPoint Real Estate Partners,                                  Deborah Deitsch-Perez,           deborah.deitschperez@stinson.com;
LLC)                                    Stinson LLP                    Michael P. Aigen                 michael.aigen@stinson.com




Highland Capital Management, L.P.
Case No. 19-34054                                                  Page 1 of 1
Case 21-03007-sgj Doc 64 Filed 09/01/21   Entered 09/01/21 20:30:46   Page 5 of 10



                              EXHIBIT B
         Case 21-03007-sgj Doc 64 Filed 09/01/21                 Entered 09/01/21 20:30:46             Page 6 of 10
                                                          Exhibit B
                                                        Affected Party
                                                   Served via Electronic Mail


            Description                     CreditorName                 CreditorNoticeName                     Email
                                                                                                    ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                   Douglas S. Draper, Leslie A.   lcollins@hellerdraper.com;
Trust and Get Good Trust             Heller, Draper & Horn, L.L.C.   Collins, Greta M. Brouphy      gbrouphy@hellerdraper.com




Highland Capital Management, L.P.
Case No. 19-34054                                         Page 1 of 1
Case 21-03007-sgj Doc 64 Filed 09/01/21   Entered 09/01/21 20:30:46   Page 7 of 10



                              EXHIBIT C
                           Case 21-03007-sgj Doc 64 Filed 09/01/21        Entered 09/01/21 20:30:46          Page 8 of 10
                                                                   Exhibit C
                                                             Adversary Service List
                                                           Served via First Class Mail

               Description               CreditorName          CreditorNoticeName                    Address1                City     State    Zip
   Counsel for UBS Securities LLC                          Andrew Clubok, Sarah            555 Eleventh Street, NW,
   and UBS AG London Branch         Latham & Watkins LLP   Tomkowiak                       Suite 1000                    Washington   DC      20004
   Counsel for UBS Securities LLC                          Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
   and UBS AG London Branch         Latham & Watkins LLP   George                          Ste. 2800                     Chicago      IL      60611
   Counsel for UBS Securities LLC                          Jeffrey E. Bjork, Kimberly A.
   and UBS AG London Branch         Latham & Watkins LLP   Posin                           355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
   Counsel for UBS Securities LLC                          Zachary F. Proulx, Jamie
   and UBS AG London Branch         Latham & Watkins LLP   Wine                            1271 Avenue of the Americas New York       NY      10020
   Counsel for HCRE Partners, LLC
   (n/k/a NexPoint Real Estate                             Deborah Deitsch-Perez,          3102 Oak Lawn Avenue,
   Partners, LLC)                   Stinson LLP            Michael P. Aigen                Suite 777                     Dallas       TX      75219




Highland Capital Management, L.P.
Case No. 19-34054                                                 Page 1 of 1
Case 21-03007-sgj Doc 64 Filed 09/01/21   Entered 09/01/21 20:30:46   Page 9 of 10



                              EXHIBIT D
                          Case 21-03007-sgj Doc 64 Filed 09/01/21           Entered 09/01/21 20:30:46          Page 10 of 10
                                                                      Exhibit D
                                                                   Affected Party
                                                              Served via First Class Mail

                 Description                   CreditorName                CreditorNoticeName              Address1           City     State    Zip
   Counsel for the Dugaboy Investment                                 Douglas S. Draper, Leslie A.   650 Poydras Street,
   Trust and Get Good Trust             Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy      Suite 2500            New Orleans LA      70130




Highland Capital Management, L.P.
Case No. 19-34054                                                     Page 1 of 1
